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                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    Jonathan Corrente, et al.,                                Case No. 4:22-cv-470-ALM

                                     Plaintiffs,              Hon. Amos L. Mazzant, III

           v.

    The Charles Schwab Corporation,

                                     Defendant.


       JOINT DECLARATION OF CHRISTOPHER BURKE AND YAVAR BATHAEE
              IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION FOR
                PRELIMINARY APPROVAL OF CLASS SETTLEMENT

          Pursuant to 28 U.S.C. § 1746, I, Christopher Burke, declare:

          1.      I am currently a partner in the law firm of Burke LLP. Before January 1, 2025, I

was a partner in the law firm of Korein Tillery PC. 1I am an attorney admitted to practice in the

United States District Court for the Eastern District of Texas as well as the highest courts of New

York, Wisconsin, and California, among other jurisdictions. I am over the age of 18 and am

personally familiar with and have personal knowledge of the facts contained herein, which I could

and would testify competently thereto. I have personally spent considerable time on this case and

have been involved in nearly every aspect of the case.

          Pursuant to 28 U.S.C. § 1746, I, Yavar Bathaee, declare:

          2.      I am an attorney admitted to practice in the United States District Court for the

Eastern District of Texas as well as the highest courts of New York and California, among other

jurisdictions. I am a partner at Bathaee Dunne LLP. I am over the age of 18 and am personally


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  I was a partner at Korein Tillery PC from November 2022 to December 2024, during which I actively represented
plaintiffs in this case. On January 1, 2025, I left Korein Tillery PC to establish my own firm, Burke LLP. My current
firm, Burke LLP, continues to represent plaintiffs in this case alongside attorneys from Korein Tillery PC and Bathaee
Dunne LLP.


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familiar with and have personal knowledge of the facts contained herein, which I could and would

testify competently thereto. I have personally spent considerable time on this case and have been

involved in nearly every aspect of the case.

         Pursuant to 28 U.S.C. § 1746, we, Christopher Burke and Yavar Bathaee, jointly declare:

         3.     We are two of the attorneys of record for the Plaintiffs in the above-captioned

matter, and our respective firms—Korein Tillery PC, Burke LLP, and Bathaee Dunne LLP—are

co-counsel for Plaintiffs. We submit this declaration in support of Plaintiffs’ Unopposed Motion

for Preliminary Approval of Class Settlement (“Motion”).

         4.     As Plaintiffs also move to certify a class for purposes of settlement, we ask to be

appointed class counsel on behalf of the Settlement Class for this action.

                                   I.      THE LITIGATION

         5.     On June 2, 2022, Plaintiffs Jonathan Corrente, Charles Shaw, and Leo William filed

a class action complaint in this Court challenging the merger between The Charles Schwab

Corporation (“Schwab”) and TD Ameritrade Holding Corporation (“Ameritrade”) (the “Merger”)

under Section 7 of the Sherman Act, seeking damages and injunctive relief. See Compl. (ECF No.

1). Plaintiffs brought their claim on behalf of a putative class of “[a]ll persons, entities, and/or

corporations in the United States who purchased or sold equities or equity options through TD

Ameritrade, Schwab, or any of their affiliates from October 26, 2020, through the present.” Id.

¶ 464.

         6.     Plaintiffs allege that the Merger, which was completed on October 26, 2020,

consolidated more than half of the Retail Order Flow Market (“ROFM”) in the United States into

one entity, resulting in a significantly higher market concentration in the ROFM. Compl. ¶¶ 284-

86. This higher market concentration has reduced competition among brokerages to maximize




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price improvement to retail clients. Id. ¶¶ 372-73. The Merger also has the effect of allowing

market makers to contract with fewer firms to obtain a substantial portion of all retail order flow.

Id. ¶¶ 381-85. For these reasons, Plaintiffs allege the Merger did and will cause retail investors

like Plaintiffs and putative class members to experience antitrust injury in the form of less payment

for order flow remitted to retail customers, higher information costs resulting from the lack of price

transparency, higher transactions costs in the form of wider bid-ask spreads from market makers,

and diminished choice on how their trades are executed. Id. ¶¶ 385, 449-55, 485.

       7.      Both before and after commencing this lawsuit, our respective law firms, Bathaee

Dunne LLP and Korein Tillery PC, investigated the underlying facts and thoroughly researched

the relevant law. This included reviewing consumer complaints related to the selling of equities or

equity options both before and after the Merger, reviewing public information and disclosures

about the Merger, analyzing the highly specialized trade data Schwab produced to Plaintiffs in the

course of discovery, and reviewing industry publications and relevant case law concerning the

Merger in general. We also retained experts in the fields of antitrust economics, securities, and

corporate finance and investigated the claims, consequences, and viable legal theories to be

pursued against Schwab.

       8.      After Plaintiffs filed their Complaint on June 2, 2022, Schwab filed a motion to

dismiss on August 29, 2022 (ECF No. 18), which the Court denied in its entirety on February 24,

2023 (ECF No. 40).

       9.      Discovery opened following the parties’ Rule 26(f) conference on October 12,

2022. On December 1, 2022, Plaintiffs served their First Set of Interrogatories and Requests for

Admission on Schwab. On March 15, 2023, Plaintiffs deposed Schwab through its Rule 30(b)(6)

designee, a Senior Vice President. Plaintiffs also noticed and scheduled the depositions of seven




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key Schwab and Ameritrade executives. Before settlement discussions began, Plaintiffs deposed

four of these executives: Schwab’s Managing Director of Market and Execution Services;

Managing Director of Corporate Development; Managing Director of Trading Order Management

and Risk; and Managing Director of Trading Operation, Equity, Options and Futures Trading

Operations. In addition, Schwab has produced approximately 218,319 documents comprising

950,021 pages, of which Plaintiffs have conducted a thorough review.

       10.      In addition to documents, Schwab also produced 6.5 terabytes of financial data,

comprising approximately 6.4 billion individual trades placed by Schwab and Ameritrade

customers between 2019 and 2023. Plaintiffs retained expert econometricians and industrial

organization economists who were in the process of using this financial data to construct a

multivariate regression model that would estimate the impact of the Merger on the prices that

Plaintiff class members paid for their trades. This model would also permit Plaintiffs’ experts to

estimate the trade prices “but for” the Merger, allowing for the calculation of both aggregated and

individual-specific damages during the class period. Plaintiffs have also retained a renowned

finance professor specializing in securities trading and the structure of securities market, who

conducted an extensive study of market microstructure relevant to this case, including how the

structure, design, and operation of the relevant market affect price formation and transaction costs

of investors.

       11.      During discovery, Plaintiffs filed two motions to compel against Schwab. On

September 8, 2023, Plaintiffs moved to compel Schwab to produce documents it had withheld

under a purported privilege for “confidential supervisory information” based on regulations

promulgated by the Federal Reserve Board and other banking regulators. (ECF No. 80). Plaintiffs

argued that this purported privilege is without statutory authority and therefore invalid. Id. On




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December 20, 2023, Plaintiffs moved to compel Schwab to produce the entire file from the U.S.

Department of Justice’s review of the Schwab-Ameritrade merger under the Hart-Scott-Rodino

Antitrust Improvements Act of 1976, including the approximately 15 million pages of documents

produced to the DOJ by Schwab and TD Ameritrade. ECF No. 109.

                       II.     THE SETTLEMENT NEGOTIATIONS

       12.     On July 9, 2024, the parties engaged in a full-day, in-person mediation with Judge

Atlas. We were both present at this mediation.

       13.     On July 24, 2024, the parties jointly requested the appointment of the Hon. Nancy

F. Atlas (Ret.) to serve as a mediator. (ECF No. 140). The Court granted this request on July 29,

2024, and stayed all other case deadlines except for Plaintiffs’ deadline to file a motion for class

certification and associated expert reports, which it reset to October 7, 2024. (ECF No. 141). The

Court also rendered the Plaintiffs’ two discovery motions moot. Id.

       14.     Since the in-person mediation, the parties have engaged in numerous telephone and

Zoom calls, including with the assistance of Judge Atlas, to further discuss settlement.

       15.     On August 23, 2024, the parties provided the Court with a status report indicating

that the mediation had made significant progress (ECF No. 142).

       16.     The parties reached an agreement in principle with respect to settlement, which was

reduced to a signed term sheet on September 20, 2024. The parties jointly reported this

development to the Court on September 27, 2024 (ECF No. 145). On October 1, 2024, the Court

stayed all remaining case deadlines (ECF No. 146).

       17.     Since then, the parties have provided further status reports on the process of

finalizing the settlement (ECF Nos. 147-48).




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        18.    The parties executed the Stipulation and Agreement of Settlement on December 12,

2024.

        19.    The parties did not discuss the amounts of attorney’s fees, costs, and expenses

Plaintiffs’ counsel will seek prior to agreeing on relief for the Settlement Class or executing the

Stipulation and Agreement of Settlement. Instead, they mediated the issue before Judge Atlas on

January 24, 2025. The notice given to the class and the proposed settlement website will disclose

the maximum amount of fees and expense reimbursement Plaintiffs’ counsel intend to seek.

Plaintiffs’ counsel also intend to apply for service awards of up to $5,000 for each Plaintiff for

service undertaken on behalf of the Settlement Class in connection with the litigation of this action.

                           III.     THE PROPOSED SETTLEMENT

        20.    The proposed Settlement Class is defined as: persons, entities, and corporations

who are current U.S. brokerage customers of Schwab or any of its affiliates, including customers

who previously held accounts at Ameritrade. Excluded from the Settlement Class are: (a) the

Defendant; (b) its employees, officers, directors, legal representatives, heirs, successors, and

wholly or partly owned subsidiaries or affiliates; and (c) the judicial officers and their immediate

family members and associated court staff assigned to this case.

        21.    The Settlement provides injunctive relief via retainer of an independent consultant

(“Consultant”) to design an antitrust compliance program, which Schwab will implement. The

parties interviewed several candidates and have agreed to retain a team of attorneys from Fried,

Frank, Harris Shriver & Jacobson LLP, including Bernard A. Nigro, Jr., Aleksandr Livshits, and

Nihal Patel (“Fried Frank”) to serve as the Consultant. Mr. Nigro is Global Chair of Fried Frank’s

Antitrust and Competition Department. Mr. Nigro previously served as the Department of Justice’s

Principal Deputy Assistant Attorney General for Antitrust and the Federal Trade Commission’s



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Deputy Director for the Bureau of Competition. While in government, Mr. Nigro worked on

revisions to the merger guidelines and remedies polices. In private practice, Mr. Nigro has advised

numerous companies on antitrust compliance issues. Mr. Livshits represents clients in connection

with antitrust merger reviews, including governmental investigations of complex cross-border

transactions, as well as antitrust compliance issues. Mr. Patel represents financial institutions and

buy-side market participants on regulatory and compliance issues relating to securities and

derivatives training. Mr. Patel regularly advises broker-dealers on regulatory issues. In designing

the antitrust compliance program, the Consultant will consider (without limitation) the policies,

practices, and procedures related to Schwab’s communications with and among market makers

and other broker-dealers; Schwab’s order routing and execution; Schwab’s order routing

committees and decisionmakers, including as to communications and coordination with market

makers and other broker-dealers; and Schwab’s post-merger disclosures, reporting, statements,

and other communications with retail clients. We believe that improvements to Schwab’s business

practices in these areas will result in tangible benefits to members of the Settlement Class and

future Schwab customers, including through better price improvement on trades (providing direct

monetary benefits) and more transparency regarding order routing (providing greater control and

choice over how their trades are executed).

       22.     The Settlement releases the claims of the members of the Settlement Class as to all

injunctive and other equitable or non-monetary claims or remedies asserted or that could have been

asserted in the action, including any claim for divestiture. Schwab also has agreed to pay each of

the three named Plaintiffs $50 in consideration for releasing their individual damages claims. The

Settlement does not release the right of absent class members to bring damages claims, either

individually or on behalf of a class.




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         23.   We believe the Settlement Agreement is fair, reasonable, and adequate, and is in

the best interests of Plaintiffs and putative Settlement Class Members. Despite our strong belief in

the merits of this litigation and likelihood of success as trial, we nonetheless believe that the

benefits to Plaintiffs and the putative Settlement Class pursuant to the agreed upon terms

substantially outweigh the risks of continuing to litigate the claims—namely, the delay that would

result before Plaintiffs and putative Settlement Class Members receive any benefits should the

action proceed to trial; the possibility of a negative outcome at trial; and the possibility of a

negative outcome post-trial should Schwab appeal a judgment in favor of the putative Settlement

Class. This Settlement provides significant benefits now and is in the best interests of all putative

Settlement Class Members.

                                   IV.     QUALIFICATIONS

         24.   At all times, Bathaee Dunne LLP, Korein Tillery PC, and Burke LLP had the

experience, expertise, and resources to effectively litigate any and all issues related to this

litigation.

         25.   I, Yavar Bathaee, have been in private practice since 2008. In 2020, I co-founded

Bathaee Dunne LLP, where my practice has focused on complex plaintiff-side cases in federal and

state courts across the country. Prior to co-founding Bathaee Dunne LLP, I spent more than a

decade in Sullivan & Cromwell’s litigation group, where I represented a wide breadth of clients,

including financial institutions, automotive manufacturers, technology companies, and central

banks.

         26.   I, Yavar Bathaee, have been lead or co-lead counsel in numerous complex class

actions, including:




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    ▪   Klein v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.). Co-lead counsel in a

        consolidated antitrust class action challenging Meta (formerly Facebook’s) monopolization

        of the social advertising market. After surviving two motions to dismiss, the advertiser

        claims in Klein are presently pending class certification, with a trial scheduled in June

        2024.

    ▪   Biddle v. The Walt Disney Company, No. 5:22-cv-07317 (N.D. Cal.). Co-lead counsel in

        consolidated case for consumer class actions challenging Disney’s anticompetitive

        licensing practices in connection with ESPN and other properties in the streaming live pay

        TV market. Case is presently in discovery after surviving two motions to dismiss, with

        classes pursuing Sherman Act and multistate indirect purchaser class claims.

    ▪   Crowder v. LinkedIn Corp., No. 4:22-cv-00237 (N.D. Cal.). Co-lead counsel in consumer

        class action challenging LinkedIn’s monopolization of the Professional Social Networking

        Market. Currently in discovery after surviving motions to dismiss.

    ▪   Pietosi v. HP, Inc., No. 3:22-cv-04237 (N.D. Cal.), and Day v. Advanced Micro Devices,

        Inc., No. 3:22-cv-04305 (N.D. Cal). Co-lead counsel in related consumer class actions

        arising out of product defect in AMD’s firmware TPM modules. Currently in discovery

        after surviving motions to dismiss.

        27.     I, Yavar Bathaee, graduated magna cum laude, Order of the Coif from Fordham

Law School, where I also earned the Class of 1911 Prize.

        28.     A copy of Bathaee Dunne LLP’s resume is submitted herewith as Exhibit A to this

Declaration.

        29.     I, Christopher Burke, have been in private practice since 1994. My principal

practice is complex antitrust litigation, particularly in the financial services industry.




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        30.    I, Christopher Burke, have been a principal, trial, lead, and/or co-lead counsel in

 numerous complex class actions, including:

               •      Alaska Elec. Pension Fund v. Bank of Am. Corp., No. 14-cv-7126

                      (S.D.N.Y) (ISDAfix litigation) ($504.5 million settlement);

               •      Axiom Inv. Advisors, LLC, by & through its Trustee, Gildor Mgmt. LLC v.

                      Barclays Bank PLC, No. 15-cv-09323 (S.D.N.Y.) ($50 million settlement);

               •      Dahl v. Bain Cap. Partners, No. 07-cv-12388 (D. Mass.) ($590.5 million

                      settlement);

               •      In re Currency Conversion Antitrust Litig., MDL No. 1409 (S.D.N.Y.)

                      ($336 million settlement);

               •      In re Disposable Contact Lens Antitrust Litig., MDL No. 1030 (M.D. Fla.)

                      ($90 million settlement with final settlements occurring during trial);

               •      In re Foreign Exch. Benchmark Rates Antitrust Litig., No. 13- cv-7789

                      (S.D.N.Y.) (FX litigation) ($2.3 billion settlement);

               •      In re GSE Bonds Antitrust Litig., No. 19-cv-01704 (S.D.N.Y.) ($386.5

                      million settlement);

               •      In re Korean Air Lines Co., Ltd. Antitrust Litig., MDL No. 1891 (C.D. Cal.)

                      ($86 million settlement);

               •      In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., MDL

                      No. 1720 (E.D.N.Y.) ($5.6 billion settlement);

               •      In re Prudential Ins. Co. of Am. SGLI/VGLI Contract Litig., No. 11-md-

                      2208 (D. Mass.) ($40 million settlement);




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                    •      LiPuma v. Am. Express Co., No. 1:04-cv-20314 (S.D. Fla.) ($90 million

                           settlement);

                    •      Ross v. Am. Express Co., No. 04-cv-5723, MDL No. 1409 (S.D.N.Y.); and

                    •      Schwartz v. Visa, No. 822505-4 (Alameda Cty. Super. Ct.) ($780 million

                           plaintiff’s judgment after six months of trial).

         31.        I, Christopher Burke, am currently serving as co-lead counsel in the following

 antitrust cases:

                    •      In re Fragrance Direct Purchaser Antitrust Litig., No. 2:23-cv-02174, a

                           lawsuit against main fragrance manufactures for a price fixing conspiracy;

                    •      In re Passenger Vehicle Replacement Tires Antitrust Litig., No. 5:24-md-

                           3107 (N.D. Ohio) pursuing price fixing claims against main manufacturers

                           in the tire industries.

         32.        I, Christopher Burke, have been recognized three times (2014, 2018, and 2020) by

 the American Antitrust Institute for exemplary work in private enforcement of the antitrust law.

         33.        A copy of Christopher Burke’s resume is submitted herewith as Exhibit B to this

 Declaration.

         34.        Based on our experience and our knowledge regarding the factual and legal issues

 in this matter, and given the substantial benefits provided by the Settlement, we believe the

 proposed settlement is fair, reasonable, and adequate within the meaning of Fed. R. Civ. P. 23(e)

 and should be preliminarily approved by the Court.

         I certify under penalty of perjury that the foregoing is true and correct. Executed this 4th

 day of February, 2025 at New York, New York.

                                                                  /s/ Yavar Bathaee
                                                                  Yavar Bathaee


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                                                             Bathaee Dunne LLP
                                                             445 Park Avenue, 9th Floor
                                                             New York, NY 10022
                                                             yavar@bathaeedunne.com

        I certify under penalty of perjury that the foregoing is true and correct. Executed this 4th

 day of February, 2025, at San Diego, California.
                                                             /s/ Christopher Burke
                                                             Christopher Burke
                                                             Burke LLP
                                                             402 West Broadway, Suite 1890
                                                             San Diego, CA 92101
                                                             cburke@burke.law




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                         EXHIBIT A




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                                          Firm Overview

 Bathaee Dunne was founded in 2020 with a dedicated focus on pursuing novel, complex, and
 significant cases—particularly in the spaces of antitrust, consumer protection, finance, and
 technology. Since its founding, the firm has served as lead counsel, co-lead counsel, or interim
 co-lead counsel in over a dozen nationwide class action suits. Our lawyers come from diverse
 backgrounds—we are engineers, physicists, actors, and musicians; antitrust, patent, securities,
 and products-liability lawyers; and were trained by preeminent law firms and some of the most
 highly respected judges in the country. We can litigate and win the cases we bring, and can
 quickly learn about any industry, product, business, or scheme.

                           Current and Noteworthy Leadership Roles

    •   Klein v. Meta Platforms, Inc., No. 3:20-cv-8570 (N.D. Cal.): Interim co-lead counsel in
        this putative antitrust class action brought by Facebook advertisers alleging that
        Facebook (now Meta) unlawfully monopolized the social advertising market.
    •   Biddle et al. v. The Walt Disney Co., No. 5:22‐cv‐07317 (N.D. Cal.): Co-lead counsel in
        this putative antitrust class action brought by YouTube TV and DirecTV subscribers
        alleging that Disney entered into agreements in restraint of trade that raised prices in the
        streaming live paid television market.
    •   Corrente et al. v. The Charles Schwab Corp., 4:22-cv-00470 (E.D. Tex.). Co-lead
        counsel in this putative antitrust class action brought by Charles Schwab customers
        alleging that the merger between Schwab and TD Ameritrade resulted in a substantial
        lessening of competition in the retail order flow market.
    •   Crowder et al. v. LinkedIn Corp., No. 4:22-cv-00237 (N.D. Cal.). Co-lead counsel in this
        putative antitrust class action filed on behalf of Premium LinkedIn subscribers alleging
        that LinkedIn has prevented entry to would-be competitors in the professional social
        networking market.
    •   Bakay et al. v. Apple Inc., 3:24-cv-476 (N.D. Cal.). Lead counsel in this putative antitrust
        class action filed on behalf of purchasers of Apple iPhones alleging that Apple’s
        agreements with horizontal competitors violate Sections 1 and 2 of the Sherman Act.
    •   Baker et al. v. Discover Financial Corp., et al., No. 1:24-cv-1265 (E.D. Va.). Lead
        counsel in this putative antitrust class action, brought under Section 7 of the Clayton Act,
        which seeks to enjoin the merger of Capital One and Discover on the grounds that the
        merger will lead to a substantial lessening of competition in the general credit card
        market and the credit card payment processing market.
    •   In re Passenger Vehicle Replacement Tires Antitrust Litigation, MDL No. 3107, 5:24-cv-
        3107 (N.D. Ohio). Appointed to the Plaintiffs’ Steering Committee in this antitrust MDL
        representing indirect purchasers in this multidistrict litigation related to alleged price
        fixing in the market for new passenger vehicle replacement tires.



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    •   Pietosi et al. v. HP, Inc., No. 3:22-cv-4273 (N.D. Cal.). Co-lead counsel in this putative
        class action lawsuit filed on behalf of purchasers of HP computers with defective central
        processing units.
    •   Day et al. v. Advanced Micro Devices, Inc., No. 3:22-cv-4305 (N.D. Cal.). Co-lead
        counsel in this putative class action lawsuit filed on behalf of purchasers of defective
        AMD central processing units.
    •   Smith et al. v. Intel Corp., No. 5:23-cv-5761 (N.D. Cal.). Lead counsel in this putative
        class action lawsuit filed on behalf of purchasers of defective Intel central processing
        units (as well as purchasers of computers that incorporate those defective central
        processing units).
    •   Harper v. Sievert et al., No. 2022-819 (Del. Ch.). Lead counsel in this shareholder
        derivative suit, which seeks to hold T-Mobile and certain of its corporate officers and
        directors responsible for adopting a reckless plan to adopt a data-mining architecture
        using T-Mobile customer data at the behest of T-Mobile’s largest shareholder, Deutsche
        Telekom.

                                          Attorney Profiles

 Yavar Bathaee (Partner) currently is lead, co-lead, or interim co-lead counsel in several class
 actions, including Klein v. Meta Platforms, Inc., No. 3:20-cv-8570 (N.D. Cal.), Biddle, et al. v.
 The Walt Disney Co., No. 5:22‐cv‐07317 (N.D. Cal.), Crowder, et al. v. LinkedIn Corp., No.
 4:22-cv-00237 (N.D. Cal.), and Corrente, et al. v. The Charles Schwab Corp., 4:22-cv-00470
 (E.D. Tex.). Mr. Bathaee has also represented clients in some of the largest class actions,
 multidistrict litigations, and trials in last decade, including in antitrust, RICO, securities, and
 bankruptcy cases. Mr. Bathaee holds a bachelor’s degree in Computer Science and Engineering
 from the University of California, Davis, and is a magna cum laude, Order of the Coif graduate
 of Fordham Law School.

 Brian J. Dunne (Partner) has represented clients in consumer class actions, antitrust cases, and
 patent cases for more than a decade. He is currently lead counsel in several class actions,
 including Pietosi, et al., v. HP Inc., No. 3:22-cv-04273 (N.D. Cal), and Day, et al., v. Advanced
 Micro Devices, Inc., No. 3:22-cv-04305 (N.D. Cal.), and was recently appointed to the Plaintiffs’
 Steering Committee representing indirect purchasers in MDL No. 3107, In re Passenger Vehicle
 Replacement Tires Antitrust Litigation, No. 5:24-md-03107 (N.D. Ohio). Mr. Dunne holds a
 bachelor’s degree in Physics from Stanford University and graduated with Honors, Order of the
 Coif, from the University of Chicago Law School, where he was a member of the University of
 Chicago Law Review. Before private practice, Mr. Dunne clerked for the Hon. Jay S. Bybee of
 the United States Court of Appeals for the Ninth Circuit and the Hon. Susan P. Read of the New
 York Court of Appeals.

 Edward M. Grauman (Partner) is an experienced litigator who has represented plaintiffs and
 defendants in high-stakes, complex disputes across a wide range of industries and areas of law,
 from antitrust, securities, and RICO to insurance coverage, environmental, and general
 commercial matters. Mr. Grauman has successfully represented clients in federal and state



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 courts, government investigations, and arbitral proceedings. His experience across sectors and
 subject-matter areas gives him a deep understanding of the business considerations involved in
 large-scale disputes and enables him to provide sound strategic and tactical advice. Mr. Grauman
 served as managing principal of the Austin office of Beveridge & Diamond. Earlier in his career,
 he was an associate at Sullivan & Cromwell LLP and Boies, Schiller & Flexner LLP.

 Andrew Chan Wolinsky (Partner) represents clients in class actions throughout the country. He
 has represented clients as both plaintiffs and defendants in complex and class cases, including in
 the areas of consumer protection, antitrust, bankruptcy, commodities, and shareholder rights. He
 holds an undergraduate degree from Tufts University, graduating magna cum laude, and is a cum
 laude graduate of Fordham Law School. Mr. Wolinsky previously served in the Office of the
 Governor of New York working on matters related to public integrity, and also worked as an
 associate attorney at Davis Polk & Wardwell LLP and Sullivan & Cromwell LLP. Mr. Wolinsky
 clerked for the Honorable Loretta A. Preska, then-Chief Judge of the United States District Court
 for the Southern District of New York and the Honorable Jane R. Roth of the United States Court
 of Appeals for the Third Circuit.

 Andrew M. Williamson (Of Counsel) has represented plaintiffs and defendants in complex
 class action, multidistrict litigation, and other high stakes litigation throughout the country for
 the past decade. This includes RICO class actions, antitrust class actions, and data breach
 litigation. Andrew is an experienced litigator, who has tried several cases in state and federal
 court and has litigated and argued motions in discovery disputes in complex nationwide class
 actions. He is a former federal prosecutor. He is a graduate of the American University
 Washington College of Law and obtained his bachelor’s degree in broadcast journalism from the
 University of Maryland Phillip Merrill College of Journalism. Prior to law school, he won
 multiple awards for his reporting and served as head coach for a collegiate baseball team, leading
 it to a national semifinal.

 Priscilla Ghita (Associate) is a 2020 graduate of Wayne State University Law School,
 graduating magna cum laude, Order of the Coif, and . After graduating law school, she worked at
 Dickinson Wright, PLLC and clerked for The Hon. Diane D’Agostini, 48th District Court of
 Michigan. Ms. Ghita has represented both plaintiffs and defendants in complex commercial and
 class action matters in state and federal courts throughout the country, and taken leading roles at
 all steps of the litigation. Prior to law school, Ms. Ghita attended Oakland University, from
 which she graduated magna cum laude.

 Allison Cross (Associate) graduated from UC Davis School of Law in 2019, Order of the Coif.
 There, she earned a Public Service Law Certificate along with her Juris Doctorate in part for her
 work with people incarcerated in California State Prisons. She is also a graduate of the
 University of Nevada, Reno, where she earned a Bachelor of Science degree, magna cum laude,
 in 2016. Following law school, Ms. Cross clerked for the Honorable Sul Ozerden of the United
 States District Court for the Southern District of Mississippi. Ms. Cross has experience with class
 action, consumer protection, and antitrust litigation, and has gained experience litigating
 technology and consumer class actions with Bathaee Dunne. Ms. Cross is admitted to practice in
 California and Florida.




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 Felipa Quiroz (Staff Attorney) has experience in commercial litigation across a range of
 industries, including oil and gas, pharmaceuticals, technology, and healthcare. Ms. Quiroz has
 worked on complex transnational litigation matters, civil and criminal government
 investigations, compliance, and other regulatory matters. She has worked with clients in the
 United States and Mexico regarding large-scale government investigations under the Foreign
 Corrupt Practices Act. Earlier in her career, Ms. Quiroz worked at the Brooklyn Defender
 Services Immigration Unit, advising clients and public defenders on the consequences of
 criminal charges. Ms. Quiroz earned her Juris Doctor from the University of California Berkeley
 School of Law, where she was on the Berkeley La Raza Law Journal and participated in the
 International Human Rights Law Clinic. Ms. Quiroz has an M.A. in education from the
 University of Pennsylvania and a B.A. in Romance Languages from Mount Holyoke College,
 where she graduated cum laude.




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                         EXHIBIT B




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                                  CHRISTOPHER M. BURKE

 Christopher M. Burke’s principal practice is complex antitrust litigation, particularly in the
 financial services industry. Mr. Burke received his B.A. from The Ohio State University (1984),
 his Master’s degree from William & Mary (1988), and his M.A. (1989) and Ph.D. (1996) in
 Political Science from the University of Wisconsin. He received his law degree from University
 of Wisconsin (1993).

 Mr. Burke recovered over $10 billion on behalf of class members. See, e.g., In re Foreign
 Exchange Benchmark Rates Antitrust Litigation, No. 13-cv-7789 (S.D.N.Y.) (“FX litigation”)
 ($2.3 billion settlement); In re GSE Bonds Antitrust Litigation, No. 19-cv-01704 (S.D.N.Y.) (“GSE
 litigation”) ($386.5 million settlement); Alaska Electrical Pension Fund v. Bankcr of America
 Corp., No. 14-cv-7126 (S.D.N.Y) (“ISDAfix litigation”) ($504.5 million settlement); Dahl v. Bain
 Capital Partners, LLC, No. 07-cv-12388 (D. Mass.) ($590.5 million settlement); In re Currency
 Conversion Antitrust Litigation, MDL No. 1409 (S.D.N.Y.) ($336 million settlement); and In re
 Payment Card Interchange Fee & Merchant Discount Antitrust Litigation, MDL No. 1720
 (E.D.N.Y.) ($5.6 billion settlement).

 Mr. Burke has been lead counsel in some of the world’s largest financial services antitrust matters.
 He is currently co-lead counsel in FX litigation. He previously served as co-lead counsel in GSE
 litigation and ISDAfix litigation. Mr. Burke is currently serving as co-lead counsel in In re
 Fragrance Direct Purchaser Antitrust Litigation, No. 2:23-cv-02174 (D.N.J.) and In re Passenger
 Vehicle Replacement Tires Antitrust Litigation, No. 5:24-md-3107 (N.D. Ohio) pursuing price
 fixing claims against main manufacturers in the fragrance and tire industries.

 Mr. Burke has served as co-lead counsel in Dahl v. Bain Capital Partners, LLC, No. 07-cv-12388
 (D. Mass.) ($590.5 million settlement); Axiom Investment Advisors, LLC, by and through its
 Trustee, Gildor Management LLC v. Barclays Bank PLC, No. 15-cv-09323 (S.D.N.Y.) ($50
 million settlement); In re Currency Conversion Antitrust Litigation, MDL No. 1409 (S.D.N.Y.)
 ($336 million settlement); In re Payment Card Interchange Fee & Merchant Discount Antitrust
 Litigation, MDL No. 1720 (E.D.N.Y.) ($5.6 billion settlement); and LiPuma v. American Express
 Co., No. 1:04-cv-20314 (S.D. Fla.) ($90 million settlement).

 Mr. Burke was also co-lead counsel for indirect purchasers in In re Korean Air Lines Co., Ltd.
 Antitrust Litigation, MDL No. 1891 (C.D. Cal.) ($86 million settlement), and In re Prudential
 Insurance Company of America SGLI/VGLI Contract Litigation, No. 11-md-2208 (D. Mass.) ($40
 million settlement). He was one of the original lawyers in the In re Wholesale Elec. antitrust cases
 in California, which settled for over $1 billion. Mr. Burke also investigated and filed the first
 complaint in In re Credit Default Swaps Antitrust Litigation, No. 13-md-2476 (S.D.N.Y.).

 Mr. Burke has extensive trial experiences. Mr. Burke was lead trial counsel in the FX litigation
 and one of the trial counsel in Schwartz v. Visa, No. 822505-4 (Alameda Cty. Super. Ct.) ($780
 million plaintiff’s judgment after six months of trial); In re Disposable Contact Lens Antitrust
 Litigation, MDL No. 1030 (M.D. Fla.) ($90 million settlement with final settlements occurring
 during trial); Ross v. Bank of America N.A. (USA), No. 05-cv-7116, MDL No. 1409 (S.D.N.Y.);
 and Ross v. American Express Co., No. 04-cv-5723, MDL No. 1409 (S.D.N.Y.).



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 Mr. Burke frequently lectures at professional conferences and CLEs on competition matters,
 including litigation surrounding financial benchmarks, class-barring arbitration clauses, the effects
 of Twombly in 12(b)(6) motions, and the increasing use of experts at class certification and trial.
 The American Antitrust Institute (“AAI”) honored Mr. Burke with an Outstanding Antitrust
 Litigation Achievement in Private Law Practice award at their 2020 and 2018 Antitrust
 Enforcement Awards for efforts in the GSE litigation and ISDAfix litigation, respectively. In
 2014, he was also recognized for his exemplary work in the Dahl v. Bain Capital Partners matter
 by the AAI and has regularly been designated as a Super Lawyer by Thomson Reuters.

 Mr. Burke has also served as an Assistant Attorney General at the Wisconsin Department of Justice
 and has lectured on law-related topics, including constitutional law, law and politics, and civil
 rights at the State University of New York at Buffalo and at the University of Wisconsin.
 Mr. Burke’s book, The Appearance of Equality: Racial Gerrymandering, Redistricting, and the
 Supreme Court (Greenwood, 1999), examines conflicts over voting rights and political
 representation within the competing rhetoric of communitarian and liberal strategies of
 justification.

 Mr. Burke co-authored an article with Stephanie A. Hackett, David W. Mitchell, Simon J. Wilke,
 Melanie Stallings Williams, Michael A. Williams, and Wei Zhao, “Masters of the Universe: Bid
 Rigging by Private Equity Firms in Multibillion Dollar LBOs,” 87 U. Cin. L. Rev. 29 (2018).




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